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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                 Chapter 11

 FTX TRADING, LTD., et al.,                             Case No. 22-11068-JTD

            Debtors.                                    (Jointly Administered)
                                                        RE: D.I. ____

             ORDER GRANTING MOTION OF MIAMI-DADE COUNTY, FLORIDA,
               FOR RELIEF FROM THE AUTOMATIC STAY TO TERMINATE
                         THE NAMING RIGHTS AGREEMENT

          Upon consideration of the motion (the “Motion”) of Miami-Dade County, a political

subdivision of the State of Florida (“Miami-Dade County”), for entry of an Order granting relief

from the automatic stay pursuant to section 362(d) of the Bankruptcy Code to permit Miami-Dade

County to terminate that certain Naming Rights Agreement between it and West Realm Shires

Services, Inc., dba FTX.US (“FTX.US”), which is guaranteed by FTX Trading, Ltd. (“FTX

Trading,” and together with FTX.US, the “Debtors”), as more fully set forth in the Motion; and

the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and the Court

having reviewed the Motion; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon all of the proceedings

had before the Court and after due deliberation and sufficient cause appearing therefor,
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        IT IS HEREBY ORDERED ADJUDGED, AND DECREED THAT:

        1.      The Motion is GRANTED to the extent set forth herein.

        2.        The automatic stay imposed by section 362(a) of the Bankruptcy Code is hereby

modified to permit Miami-Dade County to terminate that certain Naming Rights Agreement more

particularly described in the Motion.

        3.        The relief from the automatic stay shall be effective immediately upon entry of this Order

and the 14-day stay provided in Bankruptcy Rule 4001(a)(3) shall not apply.

        4.        This Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.




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